                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                               December 14, 2016
                              No. 10-16-00410-CR
                           IN RE NELSON PARNELL, JR.
                                       
                                center-4254500
                              Original Proceeding
                                       
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JUDGMENT

	The Petition for Writ of Mandamus filed by Nelson Parnell, Jr. has been considered by the Court.  The Court has determined the Petition for Writ of Mandamus should be and hereby is denied.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court.
						PER CURIAM
						SHARRI ROESSLER, CLERK294576517462500
				
By: ___________________________
1158240707390000				Nita Whitener, Deputy Clerk

